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 1   DWIGHT M. SAMUEL (CA BAR# 054486)
     A PROFESSIONAL CORPORATION
 2   117 J Street, Suite 202
     Sacramento, California 95814
 3   916-447-1193
 4   Attorney for Defendant
     Zhora Darmoyan
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 6
                               IN THE UNITED STATES DISTRICT COURT
 7
                                  EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,        )
10                                    )                 NO. 2:11-cr-467 JAM
                Plaintiff,            )
11                                    )
          v.                          )                 STIPULATION AND ORDER
12                                    )                      (Proposed)
     ZHORA DARMOYAN, ET. AL.          )
13                                    )
                Defendant.            )
14   ________________________________)
15
            IT IS HEREBY stipulated between the United States of America through its undersigned
16
     counsel, Assistant United States Attorney Lee Saara Bickley, and defendant Zhora Darmoyan
17
     through his undersigned counsel Dwight Samuel, defendant Marat Galoyan through his
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     undersigned counsel Christopher Haydn-Myer, defendant Martin Antoyan through his
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     undersigned counsel J. Toney, and defendant Kristine Atoyan through her undersigned
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     counsel Kresta Nora Daly, that the previously scheduled status conference date of May 22,
21
     2012, be vacated and the matter set for status conference on August 7, 2012.
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            The reason for this request is that the above-named defense counsel need additional
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     time to review discovery, conduct investigation, and/or engage in other defense preparation.
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     The parties further agree and stipulate that the time period from the filing of this stipulation until
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     August 7, 2012. , should be excluded in computing time for commencement of trial under the
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     Speedy Trial Act, based upon the interest of justice under 18 U.S.C. § 3161(h)(7)(B)(iv) and
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 1   Local Code T-4, to allow continuity of counsel and to allow reasonable time necessary for
 2   effective defense preparation. It is further agreed and stipulated that the ends of justice served
 3   in granting the request outweigh the best interests of the public and the defendant in a speedy
 4   trial.
 5            Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 6
 7
     DATED: May 18, 2012                                   By:         /s/
 8                                                           DWIGHT M. SAMUEL
                                                             Attorney for Defendant
 9                                                           ZHORA DARMOYAN
10   DATED: May 18, 2012                                                /s/
                                                              LEE SAARA BICKLEY
11                                                            Assistant U.S. Attorney
12
     DATED: May 18, 2012                                                /s/
13                                                            CHIRSTOPHER HAYN-MYER
                                                              Attorney for Defendant
14                                                            MARAT GALOYAN
15   DATED: May 18, 2012                                                /s/
                                                              J. TONEY
16                                                            Attorney for Defendant
                                                              MARTIN ATOYAN
17
     DATED: May 18, 2012                                                /s/
18                                                            KRESTA NORA DALY
                                                              Attorney for Defendant
19                                                            KRISTINE ATOYAN
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 1        IT IS SO ORDERED.
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 4
 5   DATED: May 18, 2012
 6
 7                                      /s/ John A. Mendez
 8                                     Judge John A. Mendez
 9                                     United States District Judge
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